 

Case 6:07-cV-01126-I\/|LB-DWB Documentl Filed 05/03/07 Page'l 0f5

IN THE UNITED STATED DISTRICT COURTE:\&,E;{)
E`OR THE DIS'I'RICT OE` KANSAS ulS,D\S'l'W.F_lET GOUP~T

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Case No. y'?~ £AQQ -./¢7;}3

S'I’EPHEN L.AMM
3200 SE Boulevard, Lot #36
Wichita, Kansas 67216

Plaintiff
vs.
CESSNA AIRCRAFT COMPANY
Resident Agent: T.W. Wakefield
5800 East Pawnee Road
Wichita, Kansas 67218

Defendant

 

CUMPLAINT PURSUANT TO TITL§ VII OF THE CIVIL
RI HTS AET 0 1 64 AND THE AMERICANS
WITH DL§§§ILITIES ACT

l. Plaintiff is a resident of the State of Kansas and
resides at 3200 SW Boulevard, Lot #36, Wichita, Kansas 6?216.

2. Defendant employer can be served with process by
serving its Resident Agent, T.W. Wakefield at 5800 East Pawnee
Road, Wichita, Kansas 67218.

3. This Action is brought for employment discrimination,
pursuant to the following laws: Title VII of the Civil Rights Act
of 1964 as amended, for employment discrimination; and the
Americans With Disabilities Act, 42 U.S.C. §12111 et seq. for
employment discrimination based on disability.

4. Jurisdiotion is conferred on the Court pursuant to 29
U.S.C. §2000e*5 and 42 U.S.C.§lle?.

5. Venue is invoked pursuant to 28 U.S.C. §1391.

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6. Defendant's conduct was discriminatory with respect to
Plaintiff’s disability or perceived disability, which is both
physical and mental in nature.

7. Plaintiff was an employee within the meaning of the
above cited statutes.

8. Defendant is an employer within the meaning of Title
VII of the Civil Rights Act of 1964, as amended and within the
meaning of the Americans with Disabilities Act.

9. Defendant is engaged in commerce within the meaning of
the above cited statutes.

10. The conduct complained of in this action concerns
failure to accommodate Plaintiff's disability and termination of
employment and failure to pay disability according to the terms
of Plaintiff's employment.

ll. Plaintiff was employed by Defendant from June ll, 1990
to March 12, 2005.

12. The last position Plaintiff held was that of Group
Leader/Experimental Mechanic.

13. Plaintiff tested positive for Retro Viral Antibodies
(HIV) and Defendant revealed this information to others.

14. Plaintiff was able to perform the essential functions
of the job, but was terminated on sarah 12, 2005.

15. In accordance with 42 U.S.C. §2000e-5, and 42 U.S.C.
§12117, more than sixty (60) days have elapsed since Plaintiff

filed a complaint with the Kansas Human Rights Commission and the

 

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Equal Employment Opportunity Commission.

16. Plaintiff filed charges with the Kansas Human Rights
Commission on October 12, 2006 under Docket Number 30508~07W and
with the Equal Employment Opportunity Commission under Charge No.
28D-2007-00029.

17. The Equal Employment Opportunity Commission issued a
Notice of Right to Sue Letter (copy attached) which was received
by me on or about February 9, 2007.

lS. If relief is not granted Plaintiff will be irreparably
denied the rights secured by Title VII of the 1964 Civil Rights
Act, as amended and by the Americans With Disability Act.

WHEREFORE, Plaintiff prays that:

a. The Court grant the relief stated in 42 U.S.C.
§2000e-5 and 42 U.S.C. 512117, including damages
in an amount in excess of $75,000.

b. That Plaintiff be compensated for the disability
payments he should have received.

c. The Court grant such other legal or equitable
relief as the Court deems just and equitable,

including attorney’s fees and costs.

 
        

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' , Plai iff Pro Se

3200 E Blvd., Lot #36
Wichita, Kansas 67216
Telephone: (316) 518*9151

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DEMLND FDR JURY TRIAL

Plaintiff requests trial by jury.

ST H LAMM

DESIGNATION OF PLACE OF TRIAL

Plaintiff designates Wichita, Kansas as the location for the
trial in this matter.

 

 

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D Seatlusing Street 1222 Spruce Strcet
Port Louis, MH Saint Louis. MQ 63103

On behalf ofperson{sl aggrieved whose identify is.

 

CONFlDEN'l-'ML (2_.9 CFR §1601.7{5)}
EEOC Gherge No. EEOC Represenla’dve T¢_>.lqphon~e"hlc_
Joseph J. Wilson,
23D-2007-00029 lnve$tigat°r _ (314) 539-7816

 

(Sce also the additional information enclosed with this fon'n.)

lo'rlcs 'rc me Pensow Aecmevll:

itlc Vll of thc Civil Righls Aet of 1964 andlor the Amoricans wid\ Disabilitlas Act {AbA): "‘l'hl’s is your Notice cf Right to Sue. issued
mar T¢ue Vl| and/cr the ADA based on the above-numbered chargc. lt has been issued at your request Your lawsuit under Tirle Vll or
1e ADA must be filed in a federal or state court WlTHlN 90 DA¥S of your receipt-of~thls notlce; or your right to sue based on this

barge will be lostl ('Fhe n`me limit for filing suit based on a state claim may be differenr.)
|:I here than 130 days have passed since me hung or rhis charge

[§r:| Less man 130 days have passed sims me hung or this merge hull have deeming-n that h is uhluely that the secs will
be able to complete its administrative processing within 180 days from the lilan cf this charge

\:| The EEOC is terminating its processing of this charge

|::| The EEOC will continue to process this charge

lgc Discriminadon in Employmcnt Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed uniil
l0 days sher you receive notice that we have completed action on the charge in lhis regard the paragraph marked below applies to
'uur casg:
The EEOC is closing yourcass. Thsrsfors, your lawsuit under the ADEA must be flled in federal or slate court WITHIN
90 DAYS o_f your receipt of this Notice. Olnerwise, your right to sue based on the above-numbered charge will be lost

m Tl"le EEOC ls continuing its handing of your ADEA case. l-lowever, if€l`li days have passed since the li|ing of the charge
you may iile suit in federal or share court under the ADEA at this time.

:qual ray ncr {EPA): You already have twa right w sue me me EPA ming ah EEc")c merge is hot mqmred.l EPA suits must be brought

n iadaral or stale conn within `2 years (3 years for willful violations) cf the alleged EPA underpayment This means that backpay due for
m\,`r violations thai occurred more gen 2 gore [3 gmi before you file suit may not be collectible

fyou tile sult, based cri this diarge, please send a copy of your court complaint to this office

 

On behalf of the Commission
64ij February 7, 2007
E"'C'°s“"es(s} James\R. Neely, Jr., {D*?"° Ma"l'ad)
Director

cc: Brenda‘Edwards

EEO.AdministrRh'-lr

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P.O. Box 7704 \

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